Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 1 of 49 PageID: 1960



 NOT FOR PUBLICATION


                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


 ____________________________________
                                     :
 BRACHA POLLAK and DAVID             :
 BENELI,                             :
                                     :
             Plaintiffs,             :               Civil Action No. 15-4025-BRM-DEA
                                     :
             v.                      :
                                     :               OPINION
 PORTFOLIO RECOVERY ASSOCIATES, :
 LLC, and JOHN DOES 1-25,            :
                                     :
             Defendants.             :
 ____________________________________:

 MARTINOTTI, DISTRICT JUDGE

        Before this Court are: (1) Plaintiffs Bracha Pollak (“Pollak”) and David Beneli’s (“Beneli,”

 together with Pollak, “Plaintiffs”) Motion for Summary Judgment (ECF No. 50) and Motion to

 Certify Class (ECF No. 51); and (2) Defendant Portfolio Recovery Associates, LLC’s (“PRA”)

 Motion for Summary Judgment. (ECF No 52.) All motions are opposed. (ECF Nos. 53, 54, 55,

 and 56.) Pursuant to Federal Rule of Civil Procedure 78(b), the Court did not hear oral argument.

 For the reasons set forth below, PRA’s Motion for Summary Judgment is GRANTED in part and

 DENIED in part, Plaintiffs’ Motion for Summary Judgment is DENIED, and Plaintiffs’ Motion

 to Certify Class is GRANTED.




                                                 1
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 2 of 49 PageID: 1961



 I.     BACKGROUND

        A.      PRA’s Collection Process

        PRA purchases debts from original lenders that the creditor is no longer attempting to

 collect. (PRA’s Statement of Undisputed Facts (ECF No. 50-2) ¶ 1.) 1 After PRA purchases the

 debt, it attempts to recover the debt through various processes and procedures, which include

 making telephone calls and sending collection letters. (Id. ¶ 2.) These initial collection letters do

 not include language regarding potential litigation. (Id. ¶ 3 and Decl. of Susan J. Guevara (ECF

 No. 50-4) ¶ 6.) If PRA’s collection procedures are unsuccessful at this stage, PRA evaluates the

 individual accounts to determine whether they are appropriate for potential litigation and, if so, the

 account will be sent to the Litigation Department, where a separate collection process ensues. (ECF

 No. 50-2 ¶¶ 4-6 and see Dep. of Susan J. Guevara (ECF No. 50-3) at 38-41.) If an account is not

 placed with the Litigation Department, suit is never filed. (ECF No. 50-2 ¶ 7.)

        PRA’s Litigation Department is a separate department with approximately 280 employees,

 including 54 attorneys. (Id. ¶ 8.) Once an account is transferred to PRA’s Litigation Department,

 PRA attempts to collect the debt through collection letters sent directly from that department. (Id.

 ¶ 9.) The first letter PRA sends is identified as the LL1 Letter, which typically offers certain

 settlement options to the debtor and provides the debtor with approximately thirty days to respond.

 (Id. ¶¶ 11-12.) If the debtor accepts any of the settlement options in the LL1 Letter, PRA will honor

 those settlement options. (Id. ¶ 13.) However, if no response is received, PRA’s Litigation




 1
   Although Plaintiffs provide their own Statement of Undisputed Facts, they do not respond to
 PRA’s Statement of Undisputed Facts, and Plaintiffs’ Statement of Undisputed Facts do not
 address everything in PRA’s Statement of Undisputed Facts. Therefore, the Court will consider
 the unaddressed statements in PRA’s Statement of Undisputed Facts “undisputed for purposes of
 the motion.” Fed. R. Civ. P. 56(e); see Fed. R. Civ. P. 56(c).
                                                   2
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 3 of 49 PageID: 1962



 Department sends a second letter, the LL2 Letter. (Id. ¶ 14.) The LL2 Letter is always sent prior

 to initiating a lawsuit if the debtor failed to respond to the LL1 letter, dispute the amount, or make

 any payment. (See Dep. of Guevara (ECF No. 52-9) at 43-46.) The LL2 Letter offers less favorable

 settlement terms and a different thirty day deadline by which the debtor must respond. (ECF No.

 50-2 ¶ 15.) If the LL2 Letter goes unanswered, the account is referred to an attorney, for the first

 time, from PRA’s Litigation Department who reviews the file prior to initiating a lawsuit. (Id. ¶

 16 and Pls.’ Statement of Undisputed Facts (ECF No. 52-2) ¶ 20 (stating the first time an account

 is ever reviewed by an attorney is sixty days after the LL2 Letter is sent out).) Notably, at the time

 a debtor’s account is transferred to the Litigation Department, there has been no determination by

 an attorney that the account is ready for litigation. (ECF No. 52-2 ¶ 17 and PRA’s Resp. to Pls.’

 Statement of Undisputed Facts (ECF No. 54-2) ¶ 17.)

        If a reviewing attorney determines the account is appropriate for litigation, either an

 attorney employed by PRA or external counsel hired by PRA will file suit. (ECF No. 50-2 ¶ 18.)

 However, if the debtor accepts the settlement offer in the LL2 Letter, PRA honors that settlement

 offer. (Id. ¶ 17.) “If a debtor disputes the debt after the debt has been transferred to PRA’s

 Litigation Department, PRA’s policy is to remove that account from the litigation process while

 the dispute is pending.” (ECF No. 50-4 ¶ 22.)

        B.      Pollak’s Account

        In 2008, Pollak entered into an agreement for a credit card with U.S. Bank, N.A. (“U.S.

 Bank”). (ECF No. 50-2 ¶ 19.) Pollak’s credit card with U.S. Bank was used to pay for personal

 and household items, not business expenses. (ECF No. 52-2 ¶ 5 and ECF No. 54-2 ¶ 5.) On August

 25, 2014, PRA acquired Pollak’s account from U.S. Bank. (ECF No. 50-2 ¶ 20.) Pollak’s balance

 due on his credit card totaled $7,764.23. (Id. ¶ 21.) On December 5, 2014, after PRA attempted to



                                                   3
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 4 of 49 PageID: 1963



 collect the debt through its traditional practices and received no response from Pollak, it transferred

 the debt to its Litigation Department. (Id. ¶ 22.)

         On December 8, 2014, PRA’s Litigation Department sent Pollak a LL1 Letter. The LL1

 Letter stated:

                            Account Transferred to Litigation Department
                  Your account has been transferred to the Litigation Department. At
                  this time, no attorney within the Litigation Department has
                  personally reviewed the particular circumstances of your account.

                  Portfolio Recovery Associates wants to help you resolve this
                  account and avoid potential legal action!

  Single Payment                        6 Month Payment                         12 Month Payment
  Settlement                            Plan                                    Plan
      • Save                                • Save $1,                              • Save
          $2,329.27                            941.05 off the                         $1,552.79 off
          off the                              balance                                the balance
          balance                           • Pay $970.53                           • Pay $517.62
      • Pay                                    per month for                          per month for
          $5,434,96                            the next 6                             the next 12
                                               months                                 months

                  Your account qualifies for our settlement program. Here are three
                  options for you to choose from:

                  Your first payment must be received in our office no later than
                  01/05/2015. Your account will be considered “Settled in Full”
                  once we post your final payment.

                  Benefits of settling this account by one of the plans as described
                  above:
                  •      Your debt on this account will be resolved
                  •      All collection activities on this account will cease
                  •      You will avoid potential legal action
                  •      If our company is reporting this account to the three major
                         credit reporting agencies, we will request that our company’s
                         trade line be updated to reflect that this account is not settled.

                  However, if you do not resolve this account any legal action is taken
                  against you, a judgment may ultimately be obtained and our local
                  attorney may take any action that is legally available in your state to
                  collect this debt to enforce any such judgment against you as
                  permitted by state law.

                                                      4
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 5 of 49 PageID: 1964




               Please contact our office no later than 01/05/2015 by calling during
               our business hours to discuss how we can work together to resolve
               this account. We reserve the right to withdraw or modify this offer
               at a later date if no payments or payment arrangements are made by
               01/05/2015.

               ....

               We are not obligated to renew this offer.

 (Pollak’s LL1 Letter (ECF No. 50-7); see ECF No. 50-2 ¶¶ 25-32 and ECF No. 52-2 ¶ 2.) No

 attorney in PRA’s Litigation Department or otherwise reviewed Pollak’s account prior to mailing

 the LL1 Letter. (ECF No. 50-2 ¶ 24 and ECF No. 52-2 ¶ 19.) Pollak did not respond to or pay any

 money in response to the LL1 Letter. (ECF No. 50-2 ¶ 33 and ECF No. 52-2 ¶ 3.)

        As a result, after the expiration of the settlement options outlined in the LL1 Letter, PRA

 sent Pollak a LL2 Letter dated January 6, 2015. (ECF No. 50-2 ¶ 34 and ECF No. 52-2 ¶ 3.) No

 attorney in PRA’s Litigation Department or otherwise reviewed Pollak’s account prior to mailing

 the LL2 Letter. (ECF No. 50-2 ¶ 35; ECF No. 52-2 ¶ 19.) The LL2 Letter stated:

               SECOND NOTICE:            Account     Transferred     to      Litigation
               Department

               Unfortunately, we have not received a response to our recent letter
               informing you that your account was previously transferred to our
               Litigation Department. At this time, no attorney within the
               Litigation Department has personally reviewed the particular
               circumstances of your account.

               Portfolio Recovery Associates still wants to help you resolve this
               account and avoid potential legal action!

               We remain willing to settle this account for $6,211.38 if funds are
               received in our office by 02/05/2015.

               Benefits of settling this account by this date:
               •      Your debt on this account will be resolved
               •      All collection activities on this account will cease
               •      You will avoid potential legal action

                                                 5
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 6 of 49 PageID: 1965



                •       If our company is reporting this account to the three major
                        credit reporting agencies, we will request that our company’s
                        trade line be updated to reflect that this account is not settled.

                However, if you do not resolve this account and legal action is taken
                against you, a judgment may ultimately be obtained and our local
                attorney may take any action that is legally available in your state to
                collect this debt to enforce any such judgment against you as
                permitted by state law.

                Please contract our office no later than 02/05/2015 by calling during
                our business hours to discuss how we can work together to resolve
                this account. We reserve the right to withdraw or modify this offer
                at a later date if no payments or payment arrangements are made by
                02/05/2015.

                ....

                We are not obligated to renew this offer.

 (Pollak’s LL2 Letter (ECF No. 50-8); see ECF No. 50-2 ¶¶ 36-41 and ECF No. 52-2 ¶ 4.) Pollak

 did not respond to or pay any money in response to the LL2 Letter. (ECF No. 50-2 ¶ 42.)

        On February 17, 2015, Pollak’s account was transferred to a PRA attorney for evaluation.

 (Id. ¶ 43.) On April 7, 2015, PRA filed suit in New Jersey state court to collect Pollak’s debt, and

 a default judgment was entered in PRA’s favor on May 18, 2015. (Id. ¶¶ 44-45.)

        C.      Beneli’s Account

        In 2011, Beneli entered into an agreement for a credit card with Citibank, N.A.

 (“Citibank”). (Id. ¶ 46.) Beneli’s credit card with Citibank was used to pay for personal and

 household items, not business expenses. (ECF No. 52-2 ¶ 10 and ECF No. 54-2 ¶ 10.) On October

 20, 2014, PRA acquired Beneli’s account from Citibank. (ECF No. 50-2 ¶ 47.) Pollak’s balance

 due on his credit card totaled $2,946.49. (Id. ¶ 48.) On March 5, 2015, after PRA attempted to

 collect the debt through its traditional practices and received no response from Beneli, it transferred

 the debt to its Litigation Department. (Id. ¶ 49.)



                                                      6
   Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 7 of 49 PageID: 1966



             On March 9, 2015, PRA’s Litigation Department sent Beneli a LL1 Letter. Beneli’s LL1

      Letter mirrors Pollak’s save the three settlement program options and the dates by which to settle

      the account. (Beneli’s LL1 Letter (ECF No. 50-10).) Beneli was offered:

Single Payment                       6 Month Payment Plan                 12 Month Payment
Settlement                              • Save 736.63 off                 Plan
    • Save $883.95                          the balance                       • Save $589.33
        off the                         • Pay $368.31                           off the balance
        balance                             per month for                     • Pay $196.43 per
    • Pay                                   the next 6                          month for the
        $2,062.54                           months                              next 12 months


      (Id.) No attorney in PRA’s Litigation Department or otherwise reviewed Beneli’s account prior to

      mailing the LL1 Letter. (ECF No. 50-2 ¶ 51 and ECF No. 52-2 ¶ 19.) Beneli did not respond to or

      pay any money in response to the LL1 Letter. (ECF No. 50-2 ¶ 60 and ECF No. 52-2 ¶ 8.)

             As a result, after the expiration of the settlement options outlined in the LL1 Letter, PRA

      sent Pollak a LL2 Letter dated April 7, 2015. (ECF No. 50-2 ¶ 61 and ECF No. 52-2 ¶ 8.) No

      attorney in PRA’s Litigation Department or otherwise reviewed Beneli’s account prior to mailing

      the LL2 Letter. (ECF No. 50-2 ¶ 62 and ECF No. 52-2 ¶ 19.) Beneli’s LL2 Letter mirrors Pollak’s

      LL2 Letter save the amount for which to settle the account and the settlement date. (Beneli’s LL2

      Letter (ECF No. 50-13).) 2 Beneli did not respond to or pay any money in response to the LL2

      Letter. (ECF No. 50-2 ¶ 69.)

             On May 14, 2015, Beneli’s account was transferred to a PRA attorney for evaluation. (Id.

      ¶ 70.) On June 15, 2015, prior to PRA filing a suit against Beneli, Beneli disputed his debt with

      PRA. (Id. ¶ 71.) Therefore, PRA refrained from filing suit against Beneli until the dispute was




      2
        The LL1 Letters and LL2 Letters mailed to Plaintiffs are standard template letters used by PRA
      in contacting all debtors. (ECF No. 52-2 ¶¶ 11-12 and ECF No. 54-2 ¶¶ 11-12.)
                                                      7
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 8 of 49 PageID: 1967



 resolved. (Id. ¶¶ 71-72.) After the dispute was resolved, but before PRA filed suit against Beneli,

 Beneli filed suit against PRA. (Id. ¶ 73.)

        D.      Facts Relating to Class Certification

        Plaintiffs seek to certify two separate classes, defined as:

                    •   Class A: All New Jersey consumers (1) who received a
                        ‘LL1’ template collection letter from [PRA] similar to the
                        annexed Exhibit A, (2) on an obligation owed or allegedly
                        owed to U.S. Bank, (3) during the time period of June 9,
                        2014 to the present.

                    •   Class B: All New Jersey consumers (1) who received a
                        ‘LL1’ template collection letter from [PRA] similar to the
                        annexed Exhibit C, (2) on an obligation owed or allegedly
                        owed to Citibank N.A., (3) during the time period of March
                        9, 2015 to the present.

 (ECF No. 51-1 at 10.) PRA acknowledges it mailed the LL1 Letter to 731 individuals encompassed

 within Class A and 5,980 individuals encompassed within Class B. (PRA’s Second Supp. Resp. to

 Pls.’ Interrogatories (ECF No. 51-8 at 5-6.)

        E.      Procedural History

        On June 15, 2015, Pollak filed a putative class action on behalf of herself and all U.S. Bank

 debtors residing in New Jersey who received LL1 Letters, alleging PRA violated the Fair Debt

 Collection Practices Act 15 U.S.C. § 1692e et seq. (“FDCPA”). (Compl. (ECF No. 1).) Beneli

 commenced a separate putative class action on March 9, 2016, on behalf of himself and all Citibank

 debtors residing in New Jersey who received LL1 Letters, alleging PRA violated the FDCPA.

 (Docket No. 16-1328, ECF No. 1.) On August 22, 2016, the matters were consolidated. (ECF No.

 33.) On September 2, 2016, Plaintiffs filed a joint Amended Complaint. (Am. Compl. (ECF No.

 34).) On April 4, 2017, Plaintiffs and PRA filed motions for summary judgment. (ECF Nos. 50




                                                  8
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 9 of 49 PageID: 1968



 and 52.) Both motions are opposed. (ECF Nos. 54, 55, and 56.) On that same date, Plaintiffs filed

 a Motion to Certify Class. (ECF No. 51.) PRA opposes this Motion. (ECF No. 53.)

 II.         SUMMARY JUDGMENT

        A.      Standard of Review

        Summary judgment is appropriate “if the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

 genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

 of law.” Fed. R. Civ. P. 56(c). A factual dispute is genuine only if there is “a sufficient evidentiary

 basis on which a reasonable jury could find for the non-moving party,” and it is material only if it

 has the ability to “affect the outcome of the suit under governing law.” Kaucher v. Cty. of Bucks,

 455 F.3d 418, 423 (3d Cir. 2006); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

 (1986). Disputes over irrelevant or unnecessary facts will not preclude a grant of summary

 judgment. Anderson, 477 U.S. at 248. “In considering a motion for summary judgment, a district

 court may not make credibility determinations or engage in any weighing of the evidence; instead,

 the non-moving party’s evidence ‘is to be believed and all justifiable inferences are to be drawn in

 his favor.’” Marino v. Indus. Crating Co., 358 F.3d 241, 247 (3d Cir. 2004) (quoting Anderson,

 477 U.S. at 255)); see also Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587,

 (1986); Curley v. Klem, 298 F.3d 271, 276-77 (3d Cir. 2002). “Summary judgment may not be

 granted . . . if there is a disagreement over what inferences can be reasonably drawn from the facts

 even if the facts are undisputed.” Nathanson v. Med. Coll. of Pa., 926 F.2d 1368, 1380 (3rd Cir.

 1991) (citing Gans v. Mundy, 762 F.2d 338, 340 (3d Cir.), cert. denied, 474 U.S. 1010 (1985));

 Ideal Dairy Farms, Inc. v. John Labatt, Ltd., 90 F.3d 737, 744 (3d Cir. 1996).




                                                   9
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 10 of 49 PageID: 1969



           The party moving for summary judgment has the initial burden of showing the basis for its

  motion. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “If the moving party will bear the

  burden of persuasion at trial, that party must support its motion with credible evidence . . . that

  would entitle it to a directed verdict if not controverted at trial.” Id. at 331. On the other hand, if

  the burden of persuasion at trial would be on the nonmoving party, the party moving for summary

  judgment may satisfy Rule 56’s burden of production by either (1) “submit[ting] affirmative

  evidence that negates an essential element of the nonmoving party’s claim” or (2) demonstrating

  “that the nonmoving party’s evidence is insufficient to establish an essential element of the

  nonmoving party’s claim.” Id. Once the movant adequately supports its motion pursuant to Rule

  56(c), the burden shifts to the nonmoving party to “go beyond the pleadings and by her own

  affidavits, or by the depositions, answers to interrogatories, and admissions on file, designate

  specific facts showing that there is a genuine issue for trial.” Id. at 324; see also Matsushita, 475

  U.S. at 586; Ridgewood Bd. of Ed. v. Stokley, 172 F.3d 238, 252 (3d Cir. 1999). In deciding the

  merits of a party’s motion for summary judgment, the court’s role is not to evaluate the evidence

  and decide the truth of the matter, but to determine whether there is a genuine issue for trial.

  Anderson, 477 U.S. at 249. Credibility determinations are the province of the factfinder. Big Apple

  BMW, Inc. v. BMW of N. Am., Inc., 974 F.2d 1358, 1363 (3d Cir. 1992).

           There can be “no genuine issue as to any material fact,” however, if a party fails “to make

  a showing sufficient to establish the existence of an element essential to that party’s case, and on

  which that party will bear the burden of proof at trial.” Celotex, 477 U.S. at 322-23. “[A] complete

  failure of proof concerning an essential element of the nonmoving party’s case necessarily renders

  all other facts immaterial.” Id. at 323; Katz v. Aetna Cas. & Sur. Co., 972 F.2d 53, 55 (3d Cir.

  1992).



                                                    10
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 11 of 49 PageID: 1970



         B.      FDCPA Claims

         Congress enacted the FDCPA in 1977 as a result of the abundance “evidence of the use of

  abusive, deceptive, and unfair debt collection practices” and the inadequacy of existing laws and

  procedures designed to protect consumers. 15 U.S.C. § 1692(a), (b). At the time, Congress was

  concerned that “[a]busive debt collection practices contribute to the number of personal

  bankruptcies, to material instability, to the loss of jobs, and to invasions of individual privacy.” 15

  U.S.C. § 1692(a). The stated purpose of the FDCPA is “to eliminate abusive debt collection

  practices by debt collectors” and to promote further action to protect consumers against debt

  collection abuses. Kaymark v. Bank of Am., N.A., 783 F.3d 168, 174 (3d Cir. 2015) (quoting 15

  U.S.C. § 1692(e)). “The right congress sought to protect in enacting this legislation was therefore

  not merely procedural, but substantive and of great importance.” Blaha v. First Nat’l Collection

  Bureau, No. 16-2791, 2016 U.S. Dist. LEXIS 157575, at *23 (D.N.J. Nov. 10, 2016).

         “Because the FDCPA is a remedial statute, we construe its language broadly so as to effect

  its purpose.” Lesher v. Law Offices of Mitchell N. Kay, PC, 650 F.3d 993, 997 (3d Cir. 2011)

  (citing Brown v. Card Serv. Ctr., 464 F.3d 450, 453 (3d Cir. 2006)). Accordingly, communications

  from lender to debtors are analyzed from the perspective of the “least sophisticated debtor.” Brown,

  464 F.3d at 454. “The basic purpose of the least-sophisticated [debtor] standard is to ensure that

  the FDCPA protects all consumers, the gullible as well as the shrewd. This standard is consistent

  with the norms that courts have traditionally applied in consumer-protection law.” Id. at 453

  (citation omitted).

         The “least sophisticated debtor” “prevents liability for bizarre or idiosyncratic

  interpretations of collection notices by preserving a quotient of reasonableness and presuming a

  basic level of understanding and willingness to read with care.” Wilson v. Quadramed Corp., 225



                                                    11
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 12 of 49 PageID: 1971



  F.3d 350, 354–55 (3d Cir. 2000) (citation omitted). “Even the least sophisticated debtor is bound

  to read collection notices in their entirety.” Campuzano–Burgos v. Midland Credit Mgmt., 550

  F.3d 294, 299 (3d Cir. 2008).

         To succeed on an FDCPA claim, a plaintiff must establish: “(1) she is a consumer, (2) the

  defendant is a debt collector, (3) the defendant’s challenged practice involves an attempt to collect

  a ‘debt’ as the [FDCPA] defines it, and (4) the defendant has violated a provision of the FDCPA

  in attempting to collect the debt.” Douglass v. Convergent Outsourcing, 765 F.3d 299, 303 (3d

  Cir. 2014); see also Jensen v. Pressler & Pressler, 791 F.3d 413, 417 (3d Cir. 2015). Only the

  fourth prong is disputed here. (ECF No. 52-1 at 7; see ECF No. 50-1 and ECF No. 56.)

         Plaintiffs assert the LL1 Letter violated 15 U.S.C. § 1692e, the provision of the FDCPA

  dealing with communications from debt collectors to debtors. They claim the LL1 Letter violated

  three specific subsections: § 1692e(3), (5), and (10). (ECF No. 52-1 at 8.) Specifically, Plaintiffs

  argue the LL1 letter violated the FDCPA because it “emphasized (1) the involvement of a

  ‘Litigation Department’, (2) the need to respond by a stated deadline set 30-day in the future, and

  (3) the implication that failure to respond by the stated deadline may result in potential legal

  action.” (ECF No. 52-1 at 8.) Therefore, the opinion will only address these issues.

         C.      Whether the LL1 Letter Violates § 1692e(5) and/or (10) by Threatening
                 Immediate Legal Action

         Plaintiffs argue PRA’s LL1 Letter violated the FDCPA by setting non-existent deadlines

  and falsely threatening debtors with imminent legal action if those deadlines were disregarded.

  (ECF No. 52-1 at 8.) Moreover, they argue PRA never intended to sue any debtor who failed to

  respond to its LL1 Letter and therefore violated the FDCPA. (Id.) PRA argues it did not violate

  any provision of the FDCPA because the LL1 Letter did not threaten any potential litigation or

  create a sense of urgency, but instead was just a settlement offer. (ECF No. 50-1 at 15-20.) PRA

                                                   12
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 13 of 49 PageID: 1972



  further argues it did not violate the FDCPA because it eventually filed suit to collect the debt

  addressed in its LL1 Letter. (ECF No. 50-1 at 7-14.)

         Determining whether PRA’s LL1 Letter could reasonably be perceived as a “threat to take

  legal action” using the “least sophisticated standard” under the circumstances of this case is best

  left to jury determination. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1195 (11th Cir.

  2010); see Ideal Dairy Farms, Inc., 90 F.3d at 744 (“Summary judgment may not be granted . . .

  if there is a disagreement over what inferences can be reasonably drawn from the facts even if the

  facts are undisputed.”). In the summary judgment context, the burden of persuasion is on the

  Plaintiffs to prove that no reasonable jury, viewing the letter through the eyes of a “least

  sophisticated debtor,” and making all reasonable inferences in PRA’s favor, could find the letter

  was merely informative or a settlement offer as opposed to threatening. LeBlanc, 601 F.3d at 1195.

         Section 1692e provides:

                 A debt collector may not use any false, deceptive, or misleading
                 representation or means in connection with the collection of any
                 debt. Without limiting the general application of the foregoing, the
                 following conduct is a violation of this section:

                         ....

                  (5) The threat to take any action that cannot legally be taken or that
                 is not intended to be taken.

                         ....

                 (10) The use of any false representation or deceptive means to
                 collect or attempt to collect any debt or to obtain information
                 concerning a consumer.

  A debtor collector violates section 1692(e)(5) where it asserts it could take legal action “it had no

  intention of taking and has never or very rarely taken before.” Brown, 464 F.3d at 455. A debt

  collector also violates the 1692(e)(5) by falsely threatening imminent litigation before the decision



                                                   13
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 14 of 49 PageID: 1973



  whether to sue has been made. See id.; Bentley v. Great Lakes Collection Bureau, 6 F.3d 60, 63

  (2d Cir. 1993); cf. Newman v. Checkrite Cal., Inc., 912 F. Supp. 1354, 1380 (E.D. Cal. 1995)

  (finding a letter suggesting suit was imminent violated § 1692e(5) because the sender was not in

  position to file suit imminently). The fact that debtors were eventually sued, “though relevant, is

  not dispositive. The issue is whether the threat of imminent litigation was true when made.” Nance

  v. Friedman, No. 98-6720, 2000 WL 1700156, at *2 (N.D. Ill. Nov. 8, 2000); see Newman, 912 F.

  Supp. at 1380 n.38 (“The fact that [a defendant] did bring suit against [a plaintiff] after this lawsuit

  was filed does not speak to his state of mind or his ability to sue at the time the letter was sent.”)

          The Federal Trade Commission’s commentary (the “FTC Commentary”) to the FDCPA

  further supports this conclusion. The FTC Commentary observes that a debt collector “may state

  that a certain action is possible, if it is true that such action is legal and is frequently taken by the

  collector or creditor with respect to similar debts,” but where the debt collector “has reason to

  know there are facts that make the action unlikely in the particular case, a statement that the action

  was possible would be misleading.” 53 Fed. Reg. 50097, 50106 (1988). “In other words, were it

  proven that the [debt collector] had reason to know that the legal action described in its letter to

  [the plaintiff] was unlikely, its statement in the [] Letter that it was possible could be deemed

  misleading.” Brown, 464 F.3d at 455. 3

          Therefore, the first issue is whether the LL1 Letter actually contained a threat or imminent

  threat of litigation in violation of § 1692e(5). The Third Circuit’s decision in Brown, the Eleventh

  Circuit’s decision in LeBlanc, and the Massachusetts District Court in Waters v. J.C. Christensen

  & Assocs., No. 08-11795, 2011 U.S. Dist. LEXIS 41075 (D. Mass. Mar. 4. 2011) are particularly



  3
    The FTC Commentary is “not entitled to deference in FDCPA cases except perhaps to the extent
  [its] logic is persuasive.” Dutton v. Wolpoff & Abramson, 5 F.3d 649, 654 (3d Cir. 1993).

                                                     14
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 15 of 49 PageID: 1974



  instructive. In Brown, the Third Circuit found the debtor had stated a claim under § 1962e(5) and

  the District Court had incorrectly dismissed her suit. 464 F.3d at 451. In that case, Card Service

  Center (“CSC”) sent the plaintiff a letter informing her that, unless she made arrangements to pay

  her debt within five days, the matter “could” result in referral of the account to CSC’s attorney,

  and “could” result in “a legal suit being filed.” Id. at 451–52. Later, the plaintiff sued, claiming

  CSC had no intention of referring her account to an attorney and no intention of filing a lawsuit,

  therefore the letter violated § 1692e’s ban on false, misleading, or deceptive communications. Id.

  at 452. The district court dismissed the complaint, determining that because “[t]he letter neither

  states nor implies that legal action is imminent, only that it is possible,” the plaintiff failed to state

  a § 1692e(5) violation. Id. at 454. However, the Third Circuit reversed, concluding:

                  Upon reading the CSC Letter, the least sophisticated debtor might
                  get the impression that litigation or referral to a CSC lawyer would
                  be imminent if he or she did not respond within five days. We do
                  not believe that such a reading would be “bizarre or idiosyncratic,”
                  see Quadramed, 225 F.3d at 354, and we thus conclude that further
                  proceedings are warranted to determine if such a reading is
                  “reasonable” in light of the facts of this case. A debt collection letter
                  is deceptive where “it can be reasonably read to have two or more
                  different meanings, one of which is inaccurate.” Id. (citation
                  omitted). If [the plaintiff] can prove, after discovery that CSC
                  seldom litigated or referred debts such as [the plaintiff’s] and those
                  of the putative class members to an attorney, a jury could conclude
                  that the CSC Letter was deceptive or misleading vis-à-vis the least
                  sophisticated debtor.

  Id. at 455.

          The Third Circuit in Brown also made clear that the use of conditional language does not

  insulate a debt collector from liability. Id. at 454-55. This holding is in line with other Circuit

  Courts. See Gonzales v. Arrow fin. Servs., LLC, 660 F.3d 1055, 1062-63 (9th Cir. 2011)

  (“Conditional language, particularly in the absence of any language clarifying or explaining the

  conditions, does not insulate a debt collector from liability.”); Leblanc, 601 F.3d at 1196 (rejecting

                                                     15
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 16 of 49 PageID: 1975



  a debt collector’s reliance on the use of conditional language “in an effort to safeguard the letter

  from being construed as ‘threatening’”).

         In Leblanc, the Eleventh Circuit considered whether, as a matter of law, a dunning letter

  received from the debt collector’s “Legal Department” contained a “threat” to sue the debtor in

  violation of § 1692e(5) when the collector could not legally pursue the suit. 601 F.3d at 1195-96.

  In that case, the first paragraph of the letter explained that the debt collector purchased the debtor’s

  debt and provided the particulars of the debt it sought to collect. Id. at 1195. The second paragraph

  included the following critical language:

                 If we are unable to resolve this issue within 35 days we may refer
                 this matter to an attorney in your area for legal consideration. If suit
                 is filed and if judgment is rendered against you, we will collect
                 payment utilizing all methods legally available to us, subject to your
                 rights below.

  The third paragraph directed the debtor to a website that may be used to “resolve” his account and

  included instructions for making payments. Id. The next paragraph contained the “validation of

  debt” notice and procedures for disputing the debt required by statute. Id. at 1196. The letter also

  expressly identified itself as a “communication [ ] from a debt collector” and stated “[t]his is an

  attempt to collect a debt and any information obtained will be used for that purpose.” Id. The final

  paragraph stated, “Please feel free to contact us,” and provided a telephone number and a website.

  Id. At the bottom of the letter, an asterisk directed the debtor to see the reverse side for “important

  information regarding [his] rights.” Id.

         The court stated, “read literally, the letter merely advises that legal action is possible, that

  it is possible for [the debt collector] to refer the matter to an attorney for consideration, that a

  lawsuit is only one possible outcome or result.” Id. Therefore, the court reversed summary

  judgment entered in favor of the debtor on the § 1692e(5) claim, finding “a reasonable juror could



                                                    16
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 17 of 49 PageID: 1976



  find the dunning letter was more informative than threatening and did not threaten imminent legal

  action.” Id. However, the court also denied the debt collector’s summary judgment motion, holding

  “a reasonable juror applying the ‘least-sophisticated consumer’ standard could also view this letter

  as either an overt or thinly-veiled threat of suit.” Id. In doing so, the court rejected the debt

  collector’s argument that the use of “conditional language such as ‘if’ and ‘may’ precluded the

  existence of a threat.” Id. Even with that language, the Eleventh Circuit found the letter could be

  read “as intimating that a lawsuit will follow immediately after the end of the 35 day ‘grace’

  period,” and the court found even “more significant” the fact that the letter shifted “to more

  forceful language” to the effect that, if a successful lawsuit followed, the collector promised to

  “collect payment utilizing all methods legally available.” Id. Finally, the court noted that,

  “although not determinative,” the fact that the letter stated that it had originated from the debt

  collector’s “legal department” was yet an added “hint or suggestion of intimidation.” Id.

         In Waters, the court granted summary judgment in favor of the debt collector, finding its

  letters did not violate the FDCPA. 2011 U.S. Dist. LEXIS 41075, *12. In that case, the debt

  collector sent the debtor three letters in attempt to collect its debt. Id. at 8-10. The debtor argued

  the first and second letter violated § 1692e(10) because

                 the clear import of both Letters was that unless the [debtor] settled
                 the Account within a certain period of time, the Account would be
                 forwarded to a Massachusetts attorney for collection. . . . Because
                 the [debtor] did not settle the account within the stated timeframe
                 and the Accounts were not forwarded to an attorney, the letters were
                 deceptive and misleading.

  Id. at 22. The court did not agree.

         The first letter stated, in relevant part:

                 NOTICE OF LEGAL REVIEW AND SETTLEMENT OPTION

                 Dear John L Waters,

                                                      17
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 18 of 49 PageID: 1977




                  Our client, RESURGENT CAPITAL SERVICES, has contracted
                  our services to represent them with regard to the Sears account
                  which they now own. RESURGENT CAPITAL SERVICES has
                  prescreened and reviewed your account to be forwarded to an
                  Attorney’s office and our client has legal representation in
                  Massachusetts.

                  Our client has given us authorization to negotiate GENEROUS
                  SETTLEMENT TERMS on their behalf. Please review the
                  following settlement opportunities to make voluntary resolution of
                  your account a reality:

                  ***

                  Take advantage of this opportunity to settle your account and as long
                  as you maintain your payment arrangement, suspend forwarding this
                  account to an Attorney. . . . For accounting purposes, your first
                  payment toward the settlement must be received within 40 calendar
                  days after the date on this letter. If you wish to make a payment
                  proposal after that time, please call us to discuss it. . . .

  Id. at 7-8. The debtor did not contact the debt collector or take any other action with respect to this

  letter. Id. at 8. Therefore, a second letter was sent, which stated, in relevant part:

                  NOTICE OF INTENT TO SETTLE

                  Dear John L Waters,

                  Our client, RESURGENT CAPITAL SERVICES, has contracted
                  our services to represent them with regard to the Sears account
                  which they now own. We have been unable to work out an
                  agreement with you to resolve this situation. THIS ACCOUNT
                  WILL BE FORWARDED TO AN ATTORNEY in Massachusetts
                  if you do not contact us to resolve this account.

                  . . . our client is willing to offer you SUBSTANTIAL SAVINGS
                  and FLEXIBLE SETTLEMENT TERMS to attempt to help you
                  voluntarily resolve your account.

                  ***

                  Take advantage of this opportunity to settle your account and as long
                  as you maintain your payment arrangement, suspend forwarding this
                  account to an Attorney. . . . For accounting purposes, your first

                                                    18
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 19 of 49 PageID: 1978



                  payment toward the settlement must be received within 30 calendar
                  days after the date on this letter. If you wish to make a payment
                  proposal after that time, please call us to discuss it. . . .

  Id. at 8-9. Again, no action was taken with respect to the second letter. Id. at 9. Therefore, the debt

  collector sent another collection letter. Id. The third letter stated, in relevant part:

                  FINAL NOTICE OF LEGAL REVIEW

                  Dear John L Waters,

                  Our client, RESURGENT CAPITAL SERVICES, has contracted
                  our services to represent them with regard to the Sears account
                  which they now own. We have been unable to work out an
                  agreement with you to resolve this situation. RESURGENT
                  CAPITAL SERVICES has advised us that THIS ACCOUNT WILL
                  BE FORWARDED TO AN ATTORNEY in the state of
                  Massachusetts if you do not contact us to resolve this account.

                  If you are unable to pay your account in full, our client is willing to
                  offer you SUBSTANTIAL SAVINGS AND FLEXIBLE
                  SETTLEMENT TERMS to attempt to help you voluntarily resolve
                  your account. . . .

                  Take advantage of this opportunity to settle your account and as long
                  as you maintain your payment arrangement, suspend forwarding this
                  account to an Attorney. . . . For accounting purposes, your first
                  payment toward the settlement must be received within 30 calendar
                  days after the date on this letter. If you wish to make a payment
                  proposal after that time, please call us to discuss it.

  Id. at 9-10. Again, no action was taken with respect to the third letter. Id. at 10. Therefore, the

  account was placed with a law office for collection. Id.

          The court found the first letter was not deceptive because the caption of the letter informed

  the debtor the account was undergoing legal review and that the debt collector was making a

  settlement offer. Id. at 24-25. The letter further stated the debt collector had “prescreened and

  reviewed” the account to be forwarded to an attorney’s office, and the record revealed those

  statements were true. Id. at 25. Indeed, the debt collector had already reviewed the account as one



                                                     19
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 20 of 49 PageID: 1979



  to be forwarded to an attorney and had already retained counsel in Massachusetts. Id. The court

  also found the letter did not state the settlement offer was a “one-time” offer or that is was “only”

  valid for the forty days. Id. at 26. The court noted:

                  the First Letter leaves the possibility open that an alternative
                  settlement arrangement could be made, even after the 40-day period:
                  “If you wish to make a payment proposal after that time, please call
                  us to discuss it.” . . . “Not only would ‘the least sophisticated debtor’
                  understand that the expiration of a mere ‘offer’ does not necessarily
                  foreclose the possibility of the parties later agreeing to its terms, but
                  [t]he practical consequence of holding [offer] letters unlawful would
                  be to prohibit settlement offers that are anything but the debt
                  collector’s best and final offer.”
  Id.

          The court also found the second letter was neither false nor deceptive for similar reasons.

  Id. at 27. “The only material difference between the [f]irst and [s]econd letter is that the [s]econd

  letter states that ‘THIS ACCOUNT WILL BE FORWARDED TO AN ATTORNEY in

  Massachusetts if you do not contact us to resolve this account.’” Id. at 27-28. The court found that

  “simply because the [debt collector] made one more settlement offer to the [debtor] (by way of the

  [t]hird [l]etter) prior to sending the [a]ccount to the Daniels Law Office for collection,” did not

  render it false or misleading. Indeed, the debt collector forwarded the account to an attorney, and

  the second letter did not foreclose the possibility of settlement under different terms or after the

  thirty days. Id. at 28.

          In this case, the parties disagree about the inferences that can be drawn from the LL1 Letter,

  more specifically, whether the LL1 Letter threatens potential or immediate litigation. The LL1

  Letter begins by stating “Account Transferred to Litigation Department,” followed by, “[a]t this

  time, no attorney within the Litigation Department has personally reviewed the particular

  circumstances of your account.” (ECF No. 50-7.) The next sentence, including critical language,

  reads: “Portfolio Recovery Associates wants to help you resolve this account and avoid potential

                                                     20
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 21 of 49 PageID: 1980



  legal action!” Id. Thereafter, the LL1 Letter states the account qualifies for a settlement program,

  articulates three options to choose from, and states “[y]our first payment must be received in

  our office no later than 01/05/2015.” Id. Those statements are followed by a list of benefits for

  settling the account, one of them being to “avoid potential legal action.” Id. Lastly, the LL1 Letter

  states:

                   However, if you do not resolve this account and legal action is taken
                   against you, a judgment may ultimately be obtained and our local
                   attorney may take any action that is legally available in your state to
                   collect this debt to enforce any such judgment against you as
                   permitted by state law.

                   Please contact our office no later than 01/05/2015 by calling during
                   our business hours to discuss how we can work together to resolve
                   this account. We reserve the right to withdraw or modify this offer
                   at a later date if no payments or payment arrangements are made by
                   01/05/2015.

                   ....

                   We are not obligated to renew this offer.

  Id.
            The Court finds this matter analogous to LeBlanc, where reasonable jurors applying the

  “least sophisticated debtor” standard could disagree as to the inferences to be drawn from PRA’s

  LL1 Letter to the Plaintiffs. Read literally, the letter merely advises that legal action is possible

  and that legal action is one possible outcome or result if settlement is not achieved. Taking the

  most literal reading, a reasonable juror could find the LL1 Letter was just a settlement offer and

  informative and did not threaten potential, let alone immediate legal action. See Kryluk v.

  Northland Grp., Inc., No. 14-3198, 2014 WL 6676728, at *6 (E.D. Pa. Nov. 25, 2014) (finding

  that the inclusion of a deadline by which the plaintiff had to send in payments did not create a false

  sense of urgency that the plaintiff would forego any opportunity to settle if he missed the deadline,

  but instead, demonstrated the offer was not being held open indefinitely); Burgess v. Portfolio

                                                     21
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 22 of 49 PageID: 1981



  Recovery Associates, LLC, No. 16-1463, 2017 WL 2471802, *3-4 (C.D. Cal. Mar. 23, 2017)

  (finding a collection letter stating “we are not obligated to renew this offer” with a stated deadline

  to accept the offers to resolve the debt did not create a sense of urgency).

         However, the LL1 Letter could also be viewed as a threat of suit or imminent suit. Despite

  the conditional language, a reasonable juror could read the phrases “potential litigation” and “we

  are not obligated to renew this offer” in the LL1 Letter as intimating a lawsuit will follow

  immediately after the deadline articulated in the letter. See Brown, 464 F.3d at 454-55 (clarifying

  that the use of conditional language does not insulate a debt collector from liability); Gonzales,

  660 F.3d at 1062-63 (“Conditional language, particularly in the absence of any language clarifying

  or explaining the conditions, does not insulate a debt collector form liability); Leblanc, 601 F.3d

  at 1196 (rejecting a debt collector’s reliance on the use of conditional language “in an effort to

  safeguard the letter from being construed as ‘threatening’”). Although the LL1 Letter includes the

  safe harbor language of “[w]e are not obligated to renew this offer,” much like the safe harbor

  language in Burgess, the LL1 Letter also references “potential legal action” on two separate

  occasions, which contradicts the safe harbor language. (ECF No. 50-7.) Notably, it references

  “potential legal action” after listing the three settlement options and under the list of reasons why

  one should settle the account. (Id.) Therefore, a reasonable juror applying the “least sophisticated

  debtor” standard could find that no more settlement offers will follow, but instead a lawsuit will

  be initiated at the conclusion of the deadlines articulated in the LL1 Letter.

         The LL1 Letter also contains more forceful litigation language:

                 However, if you do not resolve this account and legal action is taken
                 against you, a judgment may ultimately be obtained and our local
                 attorney may take any action that is legally available in your state to
                 collect this debt to enforce any such judgment against you as
                 permitted by state law.



                                                   22
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 23 of 49 PageID: 1982



  (ECF No. 50-7.) This portion of the letter can support a reasonable inference that PRA is

  threatening Plaintiffs with immediate legal action. Lastly, although not dispositive, the letter was

  also sent from PRA’s Litigation Department. Therefore, the issue of whether the LL1 Letter

  threatened litigation or was simply informative of a settlement is a jury question.

         The Brown decision is in line with this decision. There, the Third Circuit concluded “the

  least sophisticated debtor might get the impression that litigation or referral to a [] lawyer would

  be imminent if he or she did not respond within five days” and that such a reading would not be

  “bizarre or idiosyncratic.” Brown, 464 F.3d at 455. Therefore, the court reversed and remanded

  the matter to determine if such a reading of the letter was “reasonable” in light of the circumstances

  of that case. Id. The Third Circuit further determined that if such an interpretation was reasonable

  and the debt collector did not litigate or refer debts to an attorney, then one could find the letter

  was deceptive or misleading. Id. Here, because the parties disagree over what inferences can

  reasonably be drawn from the LL1 Letter, more specifically, whether it is in any way threatening

  imminent or immediate litigation, the issue shall be decided by a jury.

         While the facts of the Walters decision are similar, that case is nonetheless distinguishable.

  In Walters, the court found the first and second letters threatened that the debt collector would

  forward the account to an attorney office, and that the debt collector intended to and ultimately did

  transfer the matter to an attorney’s office. Walters, 2011 U.S. Dist. LEXIS 41075, *24-28. Here,

  however, as stated, the Court finds that determining whether PRA’s LL1 Letter could reasonably

  be perceived as a “threat to take legal action” under the “least sophisticated standard” is an issue

  for the jury to determine because reasonable jurors applying the “least sophisticated debtor”

  standard could disagree as to the inferences to be drawn from PRA’s LL1 Letter to the Plaintiffs.

  Moreover, PRA did not intend to sue Plaintiffs at the time it sent them the LL1 Letter.



                                                   23
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 24 of 49 PageID: 1983



          In the alternative, PRA argues:

                  [e]ven assuming, arguendo, the settlement offers in the Collection
                  Letters could be construed as a threat to litigate, despite their plain
                  language, the problem with Plaintiffs’ approach is PRA actually did
                  sue [] Pollak, and had begun the process to sue [] Beneli but removed
                  his account from the litigation process after he filed a belated dispute
                  of his account.

  (ECF No. 56 at 7.) However, this argument fails because PRA did not intend to sue Plaintiffs at

  the time it issued the LL1 Letter. Nance, 2000 WL 1700156, at *2 (“The fact that [the defendant]

  did in fact sue some debtors . . . , though relevant, is not dispositive. The issue is whether the threat

  of imminent litigation was true when made.”); see Newman, 912 F. Supp. at 1380 n.38 (“The fact

  that [a defendant] did bring suit against [a plaintiff] after this lawsuit was filed does not speak to

  his state of mind or his ability to sue at the time the letter was sent.”).

          In Nance, the debt collector argued the letters’ indication that he had been authorized to

  file suit was not a violation of the FDCPA because it was true. Nance, 2000 WL 1700156, at *2.

  The court denied the debt collector’s motion for summary judgment, stating:

                  Even if so, this would not necessarily carry the day for [the debt
                  collector], for the letters do not just say he was authorized to sue;
                  they indicate that a suit is imminent. Falsely threatening imminent
                  litigation when the decision whether to sue has not been made
                  violates the FDCPA. The fact that [the debt collector] did in fact sue
                  some debtors (including [the plaintiff]), though relevant, is not
                  dispositive. The issue is whether the threat of imminent litigation
                  was true when made.

  Id. (emphasis added) (internal citations omitted). In that case, the debt collector stated he had

  verbal authorization to file suit where necessary, however, his contract with one of the creditors

  he represented in writing the letters, required express written authorization before he could file

  suit. Id. Because there were material issues of fact as to whether the creditor needed express written

  authorization, the court denied the debt collector’s motion for summary judgment. Id.



                                                     24
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 25 of 49 PageID: 1984



         In Newman, the court found the letters sent by the defendants contained a threat of legal

  action because the letters

                 were on stationary [sic] inscribed with its in-house counsel’s name
                 and announced that unpaid accounts would be turned over to outside
                 counsel which might result in “damages and court costs.” [One of
                 the defendant’s] letter to plaintiff [] announced that she had to pay
                 within 10 days “to avoid [a] lawsuit.” Finally, [another defendant’s]
                 letters stated “[o]ur client had asked us to send you a DRAFT copy
                 of the law suit we prepared against you[,]” and included a sample
                 complaint with defendant attorney Sweat’s signature block at the
                 bottom of the page.

  Newman, 912 F. Supp. at 1379 (internal citations omitted). Moreover, the court further found many

  of the defendants were incapable of filing suit at the time they mailed the letters or did not intend

  to file suit at that time. Id. at 1380. Many of the letters were signed by non-attorneys, who as a

  result were not in a position to file suit “NOW.” Id. Other letters were mailed by defendants who

  had no intention to personally file suit. Id. Therefore, the court found the defendants violated

  § 1692e(5). Id. at 1381.

         In Reed v. Bailey, No. 88-5297, 1988 U.S. Dist. LEXIS 19456 (N.D. Ala. Aug. 3, 1998),

  the defendants mailed two collection letters to the plaintiff. The first collection letter

                 began with references to “Carl Wayne Myers, D.D.S., P.A.,” and to
                 an “amount” of $75.00. The body of the letter advised [the] plaintiff
                 [] that the matter of Myers v. Reed had been placed with [the]
                 defendants for immediate legal action. [The] plaintiff [] was told that
                 she had five days to contact [the] defendants’ office and make
                 “satisfactory arrangements for the liquidation of the claim.” The
                 letter further informed [the] plaintiff that should she fail to contact
                 the office within five days, defendants would take immediate legal
                 action to protect their client’s interests. [The] [p]laintiff was told that
                 her obligation “. . . beats court costs, some of which can be avoided
                 if you act immediately.” The letter was typed on the firm’s
                 stationery, clearly identifying defendants as attorneys. The bottom
                 of the letter contained a boxed-in notice directing [the] plaintiff to
                 make payments to the attorneys’ office.




                                                     25
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 26 of 49 PageID: 1985



  Id. at 2-3. On July 21, 1987, the defendants mailed the second letter, which was also typed on firm

  stationery, referred to Dr. Myers and the $75.00 debt, and contained the boxed-in notice directing

  the plaintiff to make payments to the attorneys. Id. at 3. However, this letter also contained a

  sentence stating, “Suit will be filed within 48 hours if you have not taken care of this account.” Id.

  On July 29, 1987, the defendants filed suit against the plaintiff. Id. The plaintiff then filed suit

  alleging the defendants violated several provisions of the FDCPA. Id. at 4. In part, the plaintiff

  argued the defendants violated § 1692e(5) by threatening to take legal action within 48 hours of

  the July 21st letter. Id. at 7-8.

          The court found the evidence clearly demonstrated the defendants’ intent to take the legal

  action threatened. The court concluded:

                  Admittedly the July 21st letter threatened suit in 48 hours and said
                  suit was not filed until July 29th, but the fact remains that defendants
                  did file suit and relatively soon after the above letter was sent. The
                  threat to file suit was in actuality a threat to institute suit “promptly.”
                  Surely Congress did not intend to base FDCPA violations on a
                  calculation of hours and days. Given the fact that defendants
                  followed through with the legal action proposed ad did so within a
                  reasonable time, this court concludes that they did “intend” to take
                  the prompt legal action referred to in the letter; therefore there is no
                  violation of § 1692e(5).

  Id. at 8-9.

          Here, much like in Nance and Newman, not only did PRA not intend to file suit at the time

  it sent the LL1 Letter, but it was not authorized to file suit at such time. The undisputed evidence

  demonstrates that if PRA’s debtors do not respond to the LL1 Letter, PRA’s Litigation Department

  automatically seconds the LL2 Letter. (ECF No. 50-2 ¶ 14.) The LL2 Letter is always sent prior

  to initiating a lawsuit if the debtor failed to respond to the LL1 letter, dispute the amount, or make

  any payment. (See ECF No. 52-9 at 43-46.) Only if the LL2 Letter goes unanswered is the account

  referred to an attorney, who, for the first time, reviews the file prior to initiating a lawsuit. (ECF

                                                      26
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 27 of 49 PageID: 1986



  No. 50-2 ¶ 16 and ECF No. 52-2 ¶ 20.) Thereafter, a reviewing attorney determines if the account

  is appropriate for litigation, and either an attorney employed by PRA or external counsel hired by

  PRA will file suit. (ECF No. 50-2 ¶ 18.) Because PRA intended to mail a LL2 Letter prior to

  commencing a lawsuit and because no attorney reviewed Plaintiffs’ account prior to mailing the

  LL1 letter, PRA did not intend to and could not file suit at the time it mailed the LL1 Letter. (ECF

  No. 50-2 ¶¶ 24, 51 and ECF No. 52-2 ¶ 19.) Therefore, the fact that PRA did eventually file suit

  against Pollak and prepared to initiate suit against Beneli is inapposite. Contrary to PRA’s

  argument, this case is unlike Reed because, there, the court found the defendants intended to take

  the legal action threatened at the time they sent the July 21st letter. Reed, 1988 U.S. Dist. LEXIS

  19456, at *8-9. PRA had no such intention here when the LL1 Letter was filed.

         Accordingly, Plaintiffs’ and PRA’s motions for summary judgment are DENIED as to the

  issue of whether the LL1 Letter violated the § 1692e(5) by threatening legal action or immediate

  legal action they did not intend to take. However, the Court finds PRA did not intend to and was

  not authorized to file a lawsuit at the time it sent the LL1 Letter. Therefore, if the jury determines

  PRA threatened any legal action, it must find PRA violated § 1692e(5).

         Because § 1692e(10) “is a catchall-type provision prohibiting ‘[t]he use of any false

  representation or deceptive means to collect . . . any debt,’” Rosenau v. Unifund Corp., 539 F.3d

  218, 224 (3d Cir. 2008), and Plaintiffs’ § 1692e(10) claim is premised on the same language or

  theories as the § 1692e(5) claim, the analysis of the § 1692e(5) is dispositive. Grubb v. Green Tree

  Servicing, LLC, No. 13-07421, 2014 WL 3696126, at *11 (D.N.J. July 24, 2014); see Caprio v.

  Healthcare Revenue Recovery Grp., LLC, 709 F.3d 142, 155 (3d Cir. 2013) (“Because we have

  concluded that the District Court committed reversible error by granting judgment on the pleadings

  as to the § 1692g claim, we must reach the same conclusion with respect to the claim brought



                                                   27
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 28 of 49 PageID: 1987



  under § 1692e(10).”); Vasquez v. Gertler & Gertler, Ltd., 987 F .Supp. 652, 659 (N.D. Ill. 1997)

  (wholly resting its finding that defendant did not violate § 1692e on its finding that defendant did

  not violate § 1692g); Pipiles v. Credit Bureau of Lockport, Inc., 886 F.2d 22, 25–26 (2d Cir. 1989)

  (holding that the “the vagueness of the language” in a notice suggested defendant would take

  actions it did not intend to take and therefore violated both §§ 1692e(5) and (10)). Accordingly,

  Plaintiffs’ and PRA’s motions for summary judgment are DENIED as to the issue of whether the

  LL1 Letter violated § 1692e(10) by threatening legal action. However, the Court finds PRA did

  not intend to and was not authorized to file a lawsuit at the time it sent the LL1 Letter. Therefore,

  if the jury determines PRA threatened any legal action in their LL1 Letter in violation of §

  1692e(5), it must find PRA also violated § 1692e(10). Grubb, 2014 WL 3696126, at *11

  (concluding that since the Court found Green Tree failed to satisfy the § 1692g requirements, the

  May 1 Letter, as alleged, also would be considered “deceptive” in violation of § 1692e(10)).

  Bicking v. Law Offices of Rubenstein and Cogan, 783 F. Supp. 2d 841, 845 (E.D. Va. 2011)

  (concluding that because defendant failed to satisfy § 1692g(a)(4) and (5) requirements, the alleged

  violations of § 1692g also state a claim under § 1692e(10)).

         D.      Whether the LL1 Letter violates § 1692e(10) by Setting a 30-day Deadline to
                 Respond

         Plaintiffs argue the LL1 Letter violated the FDCPA by setting non-existent response

  deadlines. (ECF No. 52-1 at 8.) Specifically, Plaintiffs contend, “In stating that the Plaintiffs could

  avoid potential legal action if they responded to [PRA] within the arbitrarily set deadline, [PRA]

  attempted to instill a false sense of urgency in the Plaintiffs, along with the implicit understanding

  that the Plaintiff[s] may be sued if they did not timely respond.” (Id. at 9.) PRA argues the response

  deadlines in the LL1 Letter were not misleading and did not create a false sense of urgency. (ECF

  No. 50-1 at 17.) Specifically, PRA argues that where “a collection letter indicates that the terms of

                                                    28
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 29 of 49 PageID: 1988



  the particular offer may not be renewed after the deadline—e.g., by including the language, ‘We

  are not obligated to renew this offer’—no false sense of urgency under the FDCPA is created.”

  (Id. at 18.)

          Courts have established that a response deadline violates the FDCPA where it appears the

  offer is a “‘one-time, take-it-or-leave-it offer’, when in fact the debt holder is prepared to make

  other offers after the expiration date.” DeGeorge v. Fin. Recovery Serv., Inc., No. 11-04288, 2012

  WL 4473229, at *6 (E.D. Pa. Sept. 28, 2012). However, courts have found that if a collection letter

  contains the language, “[w]e are not obligated to renew this offer”, it does not violate the FDCPA,

  so long as the rest of the language in the collection letter does not contradict that safe harbor

  language. Id. at *6 (including the safe harbor language may ensure the consumer will not perceive

  the letters as one-time offers); see Evory v. RJM Acquisitions Funding L.L.C., 505 F.3d 769, 775

  (7th Cir. 2007); see also Kryluk, 2014 WL 6676728, at *6 (finding that if the language in the

  collection letter at issue contradicts the safe harbor language it violates the FDCPA).

          Here, the LL1 Letter states, “We are not obligated to renew this offer.” However, while the

  safe harbor language may ensure that a consumer will not perceive an offer as a one-time offer,

  the language in the LL1 Letter cannot “be contradictory to the safe harbor language.” Kryluk, 2014

  WL 6676728, at *6. Here, as set forth earlier in this opinion, see Section II(C), supra, a reasonable

  juror applying the “least sophisticated debtor” standard may find the LL1 Letter threated

  immediate or imminent litigation, which by default would render it contradictory to the safe harbor

  language because it implies Plaintiffs would forego any opportunity to settle if they missed the

  deadline and were sued immediately. Therefore, because the Court has denied Plaintiffs’ and

  PRA’s motions as to the issue of whether the LL1 Letter threatens potential litigation or immediate




                                                   29
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 30 of 49 PageID: 1989



  legal action, Plaintiffs’ and PRA’s motions for summary judgment as to whether the LL1 Letter

  violates § 1692e(10) by setting a 30-day deadline to respond is also DENIED.

          E.     Whether PRA Violated § 1692e(10) by Stating the Account was Transferred
                 to the Litigation Department

         In their Amended Complaint, Plaintiffs argue PRA “further violated [§ 16923(10)] by

  falsely implying the ‘price of poker’ had gone up because the account was transferred to a litigation

  department, when in fact the status of the account was no different.” (ECF No. 34 ¶ 86.) PRA

  argues this argument fails because the accounts were transferred to PRA’s Litigation Department

  and the status of the accounts did change. (ECF No. 50-1 at 21.) Plaintiffs do not directly respond

  to this argument.

          Section 1692e(10) prohibits “the use of any false representation or deceptive means to

  collect or attempt to collect any debt or to obtain information concerning a consumer.” “This

  subsection is a catchall-type provision prohibiting [t]he use of any false representation or deceptive

  means to collect . . . any debt.” Rosenau, 539 F.3d at 224. A letter is deceptive when it can

  reasonably be read to have two or more meanings, one of which is inaccurate or contradictory to

  another requirement. Wilson, 225 F.3d at 354.

          The Court finds a reasonable juror applying the “least-sophisticated debtor standard”

  standard could not find the statements in the LL1 Letter stating, “Account Transferred to Litigation

  Department,” and “Your account has been transferred to the Litigation Department,” violate §

  16923(10) as a matter of law. Indeed, Plaintiffs’ accounts were transferred to PRA’s Litigation

  Department, and the status of their accounts did change. (ECF No. 50-2 ¶¶ 22, 49.) The record

  demonstrates that, after PRA purchases the debt, it attempts to recover the debt through various

  processes and procedures, which include making telephone calls and sending collection letters.

  (Id. ¶ 2.) These initial collection letters do not include language regarding potential litigation. (Id.

                                                    30
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 31 of 49 PageID: 1990



  ¶ 3 and ECF No. 50-4 ¶ 6.) However, if these collection procedures are unsuccessful, PRA

  evaluates the individual accounts to determine whether they are appropriate for potential litigation

  and to be sent to the Litigation Department, where a separate collection process ensues. (ECF No.

  50-2 ¶¶ 4-6 and see ECF No. 50-3 at 38-41.) If an account is not placed with the Litigation

  Department, then suit will never be filed. (ECF No. 50-2 ¶ 7.) Therefore, the “price of poker” had

  gone up since the account was transferred to the Litigation Department since litigation was a

  possibility. Accordingly, PRA’s motions for summary judgment is GRANTED as to this issue.

         F.      Whether the LL1 Letter Violates § 1692e(3) and/or § 1692e(10) by Referencing
                 the Litigation Department

         Plaintiffs argue PRA’s repeated reference to its “Litigation Department” in the LL1 Letter

  was a direct violation of § 1692e(3) and § 1692e(10). (ECF No. 55 at 22.) Specifically, Plaintiffs

  argue, “The LL1 Collection Letters in this action clearly would mislead the least sophisticated

  consumer that their account was being placed with an attorney for review and determination as to

  a possible lawsuit.” (Id.) PRA argues the LL1 Letter does not violate the FDCPA because it

  accurately discloses that no attorney reviewed the file and the LL1 Letter did originate from PRA’s

  Litigation Department. (ECF No. 50-1 at 22.)

         Section 1692e(3) prohibits “[t]he false representation or implication that any individual is

  an attorney or that any communication is from an attorney.” “[A] debt-collection letter can be

  deceptive under the FDCPA even if it only implies that it is from an attorney.” Rosenau, 539 F.3d

  at 224. The phrase “Legal Department” “could imply to the least sophisticated debtor that a lawyer

  was involved in drafting or sending the letter.” Id.

         In Rosenau, the Third Circuit considered whether a collection letter falsely implied it was

  from a lawyer in violation of §1692e(3) because it was signed by the “Legal Department” of a

  collection agency even though none of the employees in that department were attorneys. 539 F.3d

                                                   31
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 32 of 49 PageID: 1991



  218. In that case, the debt collector sent a collection letter to the plaintiff demanding payment on

  a debt he owed. Id. at 219. The letter stated:

                 If we are unable to resolve this issue within 35 days we may refer
                 this matter to an attorney in your area for legal consideration. If suit
                 is filed and if judgment is rendered against you, we will collect
                 payment utilizing all methods legally available to us, subject to your
                 rights below. . . . This communication is from a debt collector. This
                 is an attempt to collect a debt. . . .

  Id. at 220. The letter was signed by the “Unifund Legal Department,” which was comprised solely

  of non-lawyer employees. Id. Viewing the letter from the perspective of the least sophisticated

  debtor, the Third Circuit concluded a debtor receiving the letter might reasonably infer it was from

  an attorney even though no attorney worked in that department. Id. at 223. The court rejected the

  argument that the statement “from a debt collector” nullified the implication that the letter was

  from an attorney because the categories of “debt collector” and “attorney” are not mutually

  exclusive. Id. Lastly, the court disagreed with the district court’s conclusion that the letter could

  not reasonably be interpreted to be from an attorney just because it stated, “may refer this matter

  to an attorney in your area for legal consideration.” Id. The court noted, “Lawyers commonly refer

  cases to other lawyers who practice where particular debtors are located, and the sentence could

  reasonably be understood to mean that the lawyer who sent the letter plans to enlist the help of

  local counsel in order to move the matter forward.” Id.

         Other Circuit Courts have also analyzed the application of § 1692e to debt-collection letters

  from attorneys. The leading case on whether mass-produced debt-collection letters by an attorney

  violate the proscriptions of the FDCPA is Clomon v. Jackson, 988 F.2d 1314 (2d Cir. 1993). See

  Lesher, 650 F.3d at 999. In Clomon, a debt collection agency mailed several form collection letters

  to the plaintiff that were printed on the attorney letterhead of the agency’s general counsel and

  bore his facsimile signature. Clomon, 988 F.2d at 1316. Even though the attorney approved the

                                                   32
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 33 of 49 PageID: 1992



  form of the letters and the procedures according to which those letters were sent, the attorney had

  no direct involvement in the mailing of the letters. Id. at 1317. The Second Circuit held “the use

  of [the attorney’s] letterhead and signature on the collection letters was sufficient to give the least

  sophisticated consumer the impression that the letters were communications from an attorney.” Id.

  at 1320. The court held the letters were false and misleading because they were not “from” the

  attorney in any meaningful sense of the word. Id. In reaching this conclusion, the court found

  significant the fact that the attorney did not review each debtor’s file, did not determine when

  particular letters should be sent, did not approve the sending of particular letters based upon the

  recommendations of others, did not see particular letters before they were sent, and did not know

  the identities of the persons to whom the letters were issued. Id.; see also Miller v. Wolpoff &

  Abramson, LLP, 321 F.3d 292, 301 (2d Cir. 2003) (explaining that “[a]lthough there is no dispute

  that [the defendant law firms] are law firms, or that the letters sent by those firms were ‘from’

  attorneys in the literal sense of that word, some degree of attorney involvement is required before

  a letter will be considered ‘from an attorney’ within the meaning of the FDCPA”).

         The Seventh Circuit reached an identical conclusion regarding a similar letter in Avila v.

  Rubin, 84 F.3d 222 (7th Cir. 1996). There, as in Clomon, the plaintiff received a series of mass-

  produced collection letters printed on the letterhead of a law office and with the signature of an

  attorney. Id. at 225. Although the named attorney had approved the general form letter, he did not

  personally prepare, sign, or review any of the letters sent to the plaintiff. Id. Instead, a “legal

  assistant collector” produced the letter with assistance from materials produced by an attorney. Id.

  The plaintiff argued these letters violated § 1692e(3) because the letters were not technically “from

  an attorney.” Id. at 229. The court agreed and concluded an attorney sending a collection letter




                                                    33
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 34 of 49 PageID: 1993



  must be directly and personally involved in the mailing of the letters in order for the letters to

  comply with the FDCPA. Id. The Court explained:

                 An unsophisticated consumer, getting a letter from an “attorney,”
                 knows the price of poker has just gone up. And that clearly is the
                 reason why the dunning campaign escalates from the collection
                 agency, which might not strike fear in the heart of the consumer, to
                 the attorney, who is better positioned to get the debtor’s knees
                 knocking.

                 A letter from an attorney implies that a real lawyer, acting like a
                 lawyer usually acts, directly controlled or supervised the process
                 through which the letter was sent. That’s the essence of the
                 connotation that accompanies the title of “attorney.” A debt
                 collection letter on an attorney’s letterhead conveys authority.
                 Consumers are inclined to more quickly react to an attorney’s threat
                 than to one coming from a debt collection agency. It is reasonable
                 to believe that a dunning letter from an attorney threatening legal
                 action will be more effective in collecting a debt than a letter from a
                 collection agency. The attorney letter implies that the attorney has
                 reached a considered, professional judgment that the debtor is
                 delinquent and is a candidate for legal action. And the letter also
                 implies that the attorney has some personal involvement in the
                 decision to send the letter. Thus, if a debt collector (attorney or
                 otherwise) wants to take advantage of the special connotation of the
                 word “attorney” in the minds of delinquent consumer debtors to
                 better effect collection of the debt, the debt collector should at least
                 ensure that an attorney has become professionally involved in the
                 debtor’s file. Any other result would sanction the wholesale
                 licensing of an attorney'’ name for commercial purposes, in
                 derogation of professional standards[.]

  Id. at 229; see also Nielsen v. Dickerson, 307 F.3d 623, 635–38 (7th Cir. 2002) (concluding that

  collection letters from the defendant attorney violated § 1692e(3) and (10) because the attorney

  was not meaningfully involved in the decision to send the letters).

         However, in 2005, the Second Circuit clarified its holding from Clomon to explain that an

  attorney, acting as a debt collector, could avoid liability by including a clear and prominent

  disclaimer in its collection letter. Greco v. Trauner, Cohen & Thomas, LLP, 412 F.3d 360 (2d Cir.




                                                   34
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 35 of 49 PageID: 1994



  2005). In Greco, the collection letter was printed on the letterhead of “Trauner, Cohen & Thomas,

  LLP,” and stated, in relevant part:

                 The firm of Trauner, Cohen & Thomas is a law partnership
                 representing financial institutions in the area of creditors rights. In
                 this regard, this office represents the above named BANK OF
                 AMERICA who has placed this matter, in reference to an original
                 account with [sic] for collection and such action as necessary to
                 protect our client.

                 At this time, no attorney with this firm has personally reviewed the
                 particular circumstances of your account. However, if you fail to
                 contact this office, our client may consider additional remedies to
                 recover the balance due.
                         ....

                 Very truly yours,

                 Trauner, Cohen & Thomas, LLP

  Id. at 361 (emphasis added). The plaintiff, relying on Clomon, claimed Trauner, Cohen & Thomas

  violated the FDCPA by sending a debt collection letter, signed by the law firm and on law firm

  letterhead, implying the firm had analyzed the debtor’s case and rendered legal advice to the

  creditor even though it had not. Id. at 363. The Second Circuit held the letter did not violate the

  FDCPA because, unlike the letter at issue in Clomon, it letter “included a clear disclaimer

  explaining the limited extent of [the law firm’s] involvement in the collection.” Id. at 365. The

  Court explained:

                 One cannot, consistent with the FDCPA, mislead the debtor
                 regarding meaningful “attorney” involvement in the debt collection
                 process. But it does not follow that attorneys may participate in this
                 process only by providing actual legal services. In fact, attorneys
                 can participate in debt collection in any number of ways, without
                 contravening the FDCPA so long as their status as attorneys is not
                 misleading. Put another way, our prior precedents demonstrate that
                 an attorney can, in fact, send a debt collection letter without being
                 meaningfully involved as an attorney within the collection process,
                 so long as that letter includes disclaimers that should make clear
                 even to the “least sophisticated consumer” that the law firm or

                                                   35
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 36 of 49 PageID: 1995



                 attorney sending the letter is not, at the time of the letter’s
                 transmission, acting as an attorney.

  Id. at 364. Because the letter in Greco included a disclaimer stating, “At this time, no attorney with

  this firm has personally reviewed the particular circumstances of your account,” the court

  concluded the letter did not make a “false representation or implication that any individual is an

  attorney or that any communication is from an attorney with meaningful involvement as an

  attorney in the debtor’s case.” Id. at 365 (citation omitted).

         The Third Circuit adopted Greco’s holding in Lesher. In Lesher, the Kay Law firm sent a

  letter to the plaintiff seeking to recover a debt he owed. 650 F.3d at 995. The letter was presented

  on Kay Law Firm’s letterhead and displayed the words “Law Offices of Mitchell N. Kay, P.C.” at

  the top of the page. Id. The letter further stated, “Please be advised that your account, as referenced

  above, is being handled by this office.” Id. On the back, the letter sets forth four “notices,”

  including, “At this point in time, no attorney with this firm has personally reviewed the particular

  circumstances of your account.” Id. Contrary to Greco, the Third Circuit in Lesher held “the

  [disclaimer] statement, [located on the back of the letter], that ‘[a]t this point in time, no attorney

  with this firm has personally reviewed the particular circumstances of your account’ [did] little to

  clarify the [defendant law firm’s] role in collecting the debt because it completely contradicts” the

  body of the “message sent on the front of the collection letters—that the creditor retained a law

  firm to collect the debt.” Id. at 1003. The Lesher Court “recognize[d] that the Second Circuit held

  in Greco that” similar language in a “disclaimer sufficiently explained the limited role that

  attorneys played in collecting the plaintiff’s debt.” Id. at 1003 n.11 (citing Greco, 412 F.3d at 366).

  However, unlike the collection letter in Greco where “the disclaimer was part of the body of the

  text on the front page,” the disclaimer in Lesher “was printed on the back of the letters.” Id. at

  1002, 1003 n.11 (citing Greco, 412 F.3d at 366). Therefore, the court was “not convinced that this

                                                    36
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 37 of 49 PageID: 1996



  disclaimer . . . effectively mitigated the impression of attorney involvement.” Id. at 1003 n.11

  (citing Greco, 412 F.3d at 366).

         Here, Plaintiffs argue PRA’s references to “Litigation Department” in the LL1 Letter was

  a direct violation of § 16923(3) and § 16923(10) because it misleads the least sophisticated

  consumer into believing their account was being placed with an attorney for review. (ECF No. 55

  at 22.) Indeed, the LL1 Letter references “Litigation Department” three times at the beginning of

  the letter. However, it also includes a disclaimer, which mirrors the Greco and Lesher disclaimers.

  It states, “At this time, no attorney within the Litigation Department has personally reviewed the

  particular circumstances of your account.” (ECF No. 50-7.)

         Contrary to the Greco and Lesher letters, the LL1 Letter was not signed by an attorney or

  printed on attorney letterhead. Further, contrary to the Lesher disclaimer, but similar to the Greco

  disclaimer, the LL1 Letter disclaimer appears on the front of the letter, in the body of the text. (See

  ECF No. 50-7.) Therefore, the Court finds that by printing the disclaimer on the front, PRA

  sufficiently clarified any potential confusion noted by the Lesher court creating a false

  representation or implication that an attorney or that any communication from an attorney was

  involved in the debtor’s case. Stokes v. Farrell Law Grp., LLC, No. 11-6747, 2012 WL 1455239,

  at *3 (D.N.J. Apr. 26, 2012) (finding that the use of the Greco disclaimer effectively mitigated any

  incorrect impression of attorney involvement); Eddis v. Midland Funding, L.L.C., No. 11-3923,

  2012 WL 664812, at *8 (D.N.J. Feb. 28, 2012) (“Additionally, since [the d]efendant’s disclaimer

  appears on the front of the letter, in the body of the text and in the same font, [the d]efendant has

  not made a false representation or implication that the letter is from an attorney with meaningful

  involvement as an attorney in the debtor’s case.”) Plaintiffs have failed to point to any other

  characteristics of the LL1 Letter, other than its references to “Litigation Department,” which are



                                                    37
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 38 of 49 PageID: 1997



  likely to confuse or mislead the least sophisticated debtor as to the level of attorney involvement.

  Moreover, the LL1 Letter did in fact originate from PRA’s Litigation Department, and that

  reference alone does not violate § 16923(10). (See ECF No. 50-2 ¶ 9 (stating that once an account

  is transferred to PRA’s Litigation Department, PRA attempts to collect the debt through collection

  letters sent directly from that department).)

         Accordingly, PRA’s Motion is GRANTED and Plaintiffs’ Motion for Summary Judgment

  is DENIED as to the issue of whether PRA violated § 1692e(3) by referencing the “Litigation

  Department.” Because the Court finds PRA did not violate § 1692e(3), it must reach the same

  conclusion with respect to the claim brought under § 1692e(10), since Plaintiffs’ claims are based

  upon the same facts and theories. Grubb, 2014 WL 3696126, at *11.

  III.   CLASS CERTIFICATION

         A.      Standard of Review

         The Third Circuit has consistently observed that “Rule 23 is designed to assure that courts

  will identify the common interests of class members and evaluate the named plaintiffs’ and

  counsel’s ability to fairly and adequately protect class interests.” In re Comm. Bank of N. Va., 622

  F.3d 275, 291 (3d Cir. 2010) (quoting In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prods.

  Liab. Litig., 55 F.3d 768, 799 (3d Cir. 1995) (alterations omitted). Rule 23 contains two sets of

  requirements. First, a party seeking class certification must demonstrate the class satisfies the

  requirements of Rule 23(a):

                 (1) the class is so numerous that joinder of all members is
                 impracticable [numerosity]; (2) there are questions of law or fact
                 common to the class [commonality]; (3) the claims or defenses of
                 the representative parties are typical of the claims or defenses of the
                 class [typicality]; and (4) the representative parties will fairly and
                 adequately protect the interests of the class [adequacy].

  Fed. R. Civ. P. 23(a).


                                                   38
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 39 of 49 PageID: 1998



         Second, plaintiffs must show that the requirements of one of the provisions of Rule 23(b)

  are met. Because Plaintiffs here seek certification under Rule 23(b)(3), the Court must find “that

  the questions of law or fact common to class members predominate over any questions affecting

  only individual members, and that a class action is superior to other available methods for fairly

  and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). These requirements are

  known as predominance and superiority. In re Constar Int’l Inc. Sec. Litig., 585 F.3d 774, 780 (3d

  Cir. 2009).

         Importantly, the Third Circuit has instructed that “each Rule 23 component [must] be

  satisfied” in order for a court to certify a class. In re Hydrogen Peroxide, 552 F.3d 305, 310 (3d

  Cir. 2008) (citing Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 630 (1997). In that regard,

  “[c]lass certification is an especially serious decision, as it ‘is often the defining moment in class

  actions (for it may sound the ‘death knell’ of the litigation on the part of plaintiffs, or create

  unwarranted pressure to settle [non-meritorious] claims on the part of defendants).” Newton v.

  Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 162 (3d Cir. 2001). In Hydrogen

  Peroxide, the Third Circuit urged district courts, where appropriate, to “‘delve beyond the

  pleadings to determine whether the requirements for class certification are satisfied.’ ” 552 F.3d at

  316 (quoting Newton, 259 F.3d at 167). “An overlap between a class certification requirement and

  the merits of a claim is no reason to decline to resolve relevant disputes when necessary to

  determine whether a class certification requirement is met.” Id. Importantly, the predominance

  inquiry is especially dependent upon the merits of a plaintiff’s claim, since “the nature of the

  evidence that will suffice to resolve a question determines whether the question is common or

  individual.” Id. at 310-11 (citations omitted). “‘If proof of the essential elements of the cause of

  action requires individual treatment,’” then predominance is defeated and a class should not be

  certified. Id. (quoting Newton, 259 F.3d at 172); see In re Constar, 585 F.3d at 780.

                                                   39
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 40 of 49 PageID: 1999



          B.      Ascertainability

          Before addressing Rule 23’s requirements for class certification, PRA, as a preliminary

  matter, argues Plaintiffs’ proposed class, as defined, is overbroad and unascertainable. (ECF No.

  53 at 8-17.) Specifically, PRA argues Plaintiffs’ proposed class is overbroad and not ascertainable

  because the proposed class definition does not take into account PRA’s intent to file suit. (Id. at

  13.) PRA argues “[m]erely receiving one or both Collection Letters is insufficient for each punitive

  class member to establish a claim; rather, Plaintiffs must offer evidence to show that PRA never

  intended to bring suit against each putative class member at the time the Collection Letters were

  sent.” (Id.) According to PRA, the Court “must analyze with respect to each individual putative

  class member whether PRA ultimately intended to sue the debtors to whom the debt collection

  letters were sent.” (Id.) Plaintiffs further assert “once this subjective element of PRA’s intent is

  added to Plaintiffs’ class definitions, their request for certification fails because thousands of mini-

  trails would be required to determine PRA’s specific intent with respect to each individual class

  member. (Id. at 16.) The Court disagrees.

          Prior to determining whether the requirements of Rule 23 have been met, the Court must

  first analyze whether Plaintiffs’ proposed class definition is “readily ascertainable based on

  objective criteria.” Agostino v. Quest Diagnostics Inc., 256 F.R.D. 437, 478 (D.N.J. 2009). In order

  to determine whether a proposed class is ascertainable, the Court must engage in a two part

  analysis. First, the Court must determine whether the defined class specifies “a particular group

  that was harmed during a particular time frame, in a particular location, in a particular way.” Rowe

  v. E.I. Dupont De Nemours & Co., 262 F.R.D. 451, 455 (D.N.J. 2009). Second, the Court must be

  able to ascertain the class’s membership in an objective manner. Id.; Byrd v. Aaron’s Inc., 784

  F.3d 154, 163 (3d Cir. 2015) (finding the Third Circuit has implemented a two-fold inquiry

  requiring a plaintiff to show: “(1) the class is defined with reference to objective criteria; and (2)

                                                    40
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 41 of 49 PageID: 2000



  there is a reliable and administratively feasible mechanism for determining whether putative class

  members fall within the class definition”)

         Significantly, in demonstrating ascertainability, a plaintiff need not identify every class

  member at the class certification stage; instead a plaintiff is required to show that “class members

  can be identified.” Byrd, 784 F.3d at 163 (citation omitted) (emphasis in original). “If class

  members are impossible to identify without extensive and individualized fact-finding or ‘mini-

  trials,’ then a class action is inappropriate.” Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 593

  (3d Cir. 2012).

         Here, Plaintiffs have satisfied the requirement of defining an ascertainable class. Plaintiffs’

  classes definitions are comprised of objective criteria and factors, and, therefore, are capable of

  being ascertained. Plaintiffs’ have proposed the following definitions of the classes:

                     •   Class A: All New Jersey consumers (1) who received a
                         ‘LL1’ template collection letter from [PRA] similar to the
                         annexed Exhibit A, (2) on an obligation owed or allegedly
                         owed to U.S. Bank, (3) during the time period of June 9,
                         2014 to the present.

                     •   Class B: All New Jersey consumers (1) who received a
                         ‘LL1’ template collection letter from [PRA] similar to the
                         annexed Exhibit C, (2) on an obligation owed or allegedly
                         owed to Citibank N.A., (3) during the time period of March
                         9, 2015 to the present.

  (ECF No. 51-1 at 10.) These definitions identify a particular group, New Jersey consumers; a

  particular time frame; and the harm to the group, receiving the LL1 Letter. As discussed above in

  the Motion for Summary Judgment section, supra, receiving the LL1 Letter is indeed the harm

  that is the basis of Plaintiffs’ FDCPA allegations in this case.

         PRA can be held liable under the FDCPA if it did not intend to sue the recipient of the

  collection letter or falsely threatened imminent litigation when the decision whether to sue has not

  been made also violates the FDCPA. See Brown, 464 F.3d at 455; Bentley, 6 F.3d at 63; Newman,
                                                   41
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 42 of 49 PageID: 2001



  912 F. Supp. at 1380. The fact that debtors were sued, “though relevant, is not dispositive. The

  issue is whether the threat of imminent litigation was true when made.” Nance, 2000 WL 1700156,

  at *2; see Newman, 912 F. Supp. at 1380 n.38.

         Because the Court has found that not only did PRA not intend to file suit at the time it sent

  its LL1 Letters, but it was not authorized to file suit at such time, the harm itself was sending the

  LL1 Letter. The undisputed evidence demonstrates that once an account is transferred to the

  Litigation Department, an LL1 Letter is automatically sent. (ECF No. 50-2 ¶¶ 11-12.) Notably, at

  the time a debtor’s account is transferred to the Litigation Department, there has been no

  determination by an attorney that the account is ready for litigation. (ECF No. 52-2 ¶ 17 and ECF

  No. 54-2 ¶ 17.) If PRA’s debtors do not respond to the LL1 Letter, PRA’s Litigation Department

  automatically seconds the LL2 Letter. (ECF No. 50-2 ¶ 14.) The LL2 Letter is always sent prior

  to initiating a lawsuit if the debtor failed to respond to the LL1 letter, dispute the amount, or make

  any payment. (See ECF No. 52-9 at 43-46.) Only if the LL2 Letter goes unanswered is the account

  referred to an attorney, who, for the first time, reviews the file prior to initiating a lawsuit. (ECF

  No. 50-2 ¶ 16 and ECF No. 52-2 ¶ 20.) Thereafter, a reviewing attorney determines whether or not

  the account is appropriate for litigation, and either an attorney employed by PRA or external

  counsel hired by PRA will file suit. (ECF No. 50-2 ¶ 18.) Because PRA intended to file a LL2

  Letter if Plaintiffs’ did not respond to the LL1 Letter and no attorney reviewed either Plaintiffs’

  account prior to mailing the LL1 letter, PRA did not intend to and could not file suit at the time it

  mailed the letter. (ECF No. 50-2 ¶ 24, 51; ECF No. 52-2 ¶ 19.) The fact that PRA did eventually

  file suit against Pollak and prepared to initiate suit against Beneli is inapposite. Therefore, “mini-

  trials” to determine PRA’s subjective intent for each proposed plaintiff are unnecessary.

  Accordingly, the class definitions are not overbroad or unascertainable.



                                                   42
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 43 of 49 PageID: 2002



         Plaintiffs’ have demonstrated an objective way to ascertain who is a member of the class.

  Indeed, during discovery, PRA admitted it mailed the LL1 Letter to 731 individuals encompassed

  within Class A and 5,980 individuals encompassed within Class B. (ECF No. 51-8 at 5-6.) Thus,

  PRA is capable of ascertaining the putative class members, as demonstrated by its own admission.

         C.        Rule 23(a) Inquiry

         The Court first determines whether Plaintiffs have satisfied the prerequisites for

  maintaining a class action as set forth in Rule 23(a). Similar to PRA’s ascertainability argument,

  PRA argues Plaintiffs cannot prove the elements of Rule 23 because PRA’s intent to initiate a

  lawsuit is an individualized question incapable of generating the requisite class-wide answers.

  (ECF No. 53 at 17-28.)

                   i.     Numerosity

         With respect to numerosity, a party need not precisely enumerate the class members to

  proceed as a class action. In re Lucent Tech. Inc., Sec. Litig., 307 F. Supp. 2d 633, 640 (D.N.J.

  2004). “No minimum number of plaintiffs is required to maintain a suit as a class action, but

  generally if the named plaintiff demonstrates that the potential number of plaintiffs exceeds 40,

  the first prong of Rule 23(a) has been met.” Stewart v. Abraham, 275 F.3d 220, 226-27 (3d Cir.

  2001) (citing 5 James Wm. Moore et al., Moore’s Federal Practice S 23.22[3][a] (Matthew Bender

  3d ed. 1999)).

         Here, PRA admits to having mailed the LL1 Letter to 731 individuals encompassed within

  Class A and 5,980 individuals encompassed within Class B. (ECF No. 51-8 at 5-6.) In light of this

  concession, it appears the potential number of plaintiffs far exceeds the number generally deemed

  to satisfy the numerosity requirement. See Marcus, 687 F.3d at 595. Therefore, the Court finds

  numerosity is met.



                                                 43
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 44 of 49 PageID: 2003



                 ii.     Commonality

         Commonality requires there to be “questions of law or fact common to the class.” Fed. R.

  Civ. P. 23(a)(2). The threshold for establishing commonality is straightforward: “The commonality

  requirement will be satisfied if the named plaintiffs share at least one question of fact or law with

  the grievances of the prospective class.” In re Schering Plough Corp. ERISA Litig., 589 F.3d 585,

  596-97 (3d Cir. 2009) (quoting Baby Neal v. Casey, 43 F.3d 48, 56 (3d Cir. 1994)). Indeed, as the

  Third Circuit pointed out, “[i]t is well established that only one question of law or fact in common

  is necessary to satisfy the commonality requirement, despite the use of the plural ‘questions’ in the

  language of Rule 23(a)(2).” In re Schering Plough, 589 F.3d at 97 n.10. Thus, there is a low

  threshold for satisfying this requirement. Newton, 259 F.3d at 183; In re Sch. Asbestos Litig., 789

  F.2d 996, 1010 (3d Cir. 1986) (highlighting that the threshold of commonality is not high (citations

  omitted)).

         Moreover, this requirement does not mandate that all putative class members share

  identical claims, see Hassine v. Jeffes, 846 F.2d 169, 176-77 (3d Cir. 1988), and that “factual

  differences among the claims of the putative class members do not defeat certification.” Baby Neal,

  43 F.3d at 56. In that regard, class members can assert a single common complaint even if they

  have not all suffered actual injury; demonstrating that all class members are subject to the same

  harm will suffice. Hassine, 846 F.2d at 177-78. “Even where individual facts and circumstances

  do become important to the resolution, class treatment is not precluded.” Baby Neal, 43 F.3d at 56.

         This case presents numerous questions of law and fact that are common to all class

  members, as demonstrated by the motions for summary judgment, as each member received an

  identical LL1 Letter from PRA. Insofar as Plaintiffs allege the LL1 Letter violated the FDCPA,

  those violations and related remedies would apply to all class members.



                                                   44
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 45 of 49 PageID: 2004



                   iii.    Typicality

            Rule 23(a)(3) requires that the representative’s claim be typical of those of the members of

  the class. “The concepts of commonality and typicality are broadly defined and tend to merge,

  because they focus on similar aspects of the alleged claims.” Newton, 259 F.3d at 182. “Both

  criteria seek to assure that the action can be practically and efficiently maintained and that the

  interests of the absentees will be fairly and adequately represented.” Baby Neal, 43 F.3d at 56; see

  Gen. Tel. Co. of Southwest v. Falcon, 457 U.S. 147, 157 n.13 (1982). Despite their similarity,

  commonality–like numerosity–evaluates the sufficiency of the class itself, and typicality–like

  adequacy of representation–evaluates the sufficiency of the named plaintiff. See Hassine, 846 F.2d

  at 177 n.4; Weiss v. York Hosp., 745 F.2d 786, 810 (3d Cir. 1984), cert. denied, 470 U.S. 1060

  (1985).

            Specifically, Rule 23(a)(3) requires that “the claims . . . of the representative parties [be]

  typical of the claims of the class.” See Fed. R. Civ. P. 23(a)(3). Typicality acts as a bar to class

  certification only when “the legal theories of the named representatives potentially conflict with

  those of the absentees.” Georgine v. Amchem Prods., 83 F.3d 610, 631 (3d Cir. 1996); Newton,

  259 F.3d 183. “If the claims of the named plaintiffs and putative class members involve the same

  conduct by the defendant, typicality is established regardless of factual differences.” Id. at 184. In

  other words, the typicality requirement is satisfied as long as representatives and the class claims

  arise from the same event or practice or course of conduct and are based on the same legal theory.

  Brosious v. Children’s Place Retail Stores, 189 F.R.D. 138, 146 (D.N.J. 1999).

            Here, typicality is clearly satisfied since Plaintiffs’ claims arise from the same course of

  conduct that gave rise to the claims of all other class members, namely the LL1 Letter, and are

  based on the same legal theory. Thus, the typicality requirement of Rule 23(a)(3) is met.



                                                     45
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 46 of 49 PageID: 2005



                 iv.     Adequacy

         A class may not be certified unless the representative class members “will fairly and

  adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “Rule 23(a)’s adequacy of

  representation requirement ‘serves to uncover conflicts of interest between named parties and the

  class they seek to represent.’” In re Pet Food Prod. Liab. Litig., 629 F.3d 333, 343 (3d Cir. 2010)

  (quoting Amchem, 521 U.S. at 625). Class representatives “must be part of the class and possess

  the same interest and suffer the same injury as the class members.” Id. (citation omitted).

         This requirement has traditionally entailed a two-pronged inquiry: first, the named

  plaintiff’s interests must be sufficiently aligned with the interests of the absentees; and second, the

  plaintiff’s counsel must be qualified to represent the class. Gen. Motors, 55 F.3d at 800. A named

  plaintiff is “adequate” if his interests do not conflict with those of the class. In re Prudential Ins.

  Co. Am. Sales Practice Litig. Agent Actions, 148 F.3d 283, 312 (3d Cir. 1998). Pursuant to Rule

  23(g), adequacy of class counsel is considered separately from the determination of the adequacy

  of the class representatives. Both prongs of the adequacy requirement are satisfied here.

         Plaintiffs have no interests that are antagonistic to those of the members of the proposed

  class and have no unique defenses from the proposed class. As explained, the fact that some

  members of the class were in fact sued is inapposite because PRA did not intend to file suit at the

  time it issued the LL1 Letter. Plaintiffs are alleged to have suffered injury in the same manner as

  other class members as a result of PRA’s alleged violations of the FDCPA. Plaintiffs are therefore

  an adequate representative of the class.

         Rule 23(g) requires a court to assess the adequacy of proposed class counsel. To that end,

  the court must consider the following: (1) the work counsel has done in identifying or investigating

  potential claims in the action; (2) counsel’s experience in handling class actions, other complex



                                                    46
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 47 of 49 PageID: 2006



  litigation, and claims of the type asserted in the action; (3) counsel’s knowledge of the applicable

  law; and (4) the resources counsel will commit to representing the class. Nafar v. Hollywood

  Tanning Sys., Inc., No. 06-CV-3826 DMC, 2008 WL 3821776, at *7 (D.N.J. Aug. 12, 2008). Lead

  Counsel, Marcus & Zelman, LLC, is experienced in handling complex litigation and has

  represented debtors in over 350 FDCPA cases in the Stated of New York, New Jersey and

  Connecticut. (See ECF No. 51-1 at 15-16.) Accordingly, counsel are qualified and experienced in

  consumer action litigation and more than adequate to represent Plaintiffs and the class.

          D.      Rule 23(b)(3) Factors: Common Questions Predominate and the Class Is
                  Superior to Other Methods of Adjudication

          After meeting the threshold requirements of Rule 23(a), a plaintiff must establish the

  proposed class meets the requirements of Rule 23(b)(3). To certify a class under Rule 23(b)(3), the

  Court must find that “the questions of law or fact common to the members of the class predominate

  over any question affecting only individual members, and that a class action is superior to other

  available methods for the fair and efficient adjudication of the controversy.” Rule 23(b)(3) requires

  that “a class action [be] superior to other available methods for the fair and efficient adjudication

  of the controversy.” Fed. R. Civ. P. 23(b)(3). In this case, both considerations weigh in favor of

  class certification.

          Here, Plaintiffs satisfy the predominance and superiority criteria of Rule 23(b)(3). In

  determining whether common questions predominate, courts have focused on the claims of liability

  against defendants. See Bogosian v. Gulf Oil Corp., 561 F.2d 434, 456 (3d Cir. 1977); Smith v.

  Suprema Specialties, Inc., No. 02-168, 2007 WL1217980, at * 9 (D.N.J. 2007) (citations omitted)

  (“The focus of the predominance inquiry is on liability, not damages.”). When common questions

  are a significant aspect of a case and they can be resolved in a single action, class certification is




                                                   47
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 48 of 49 PageID: 2007



  appropriate. See 7A Wright, Miller & Kane, Federal Practice and Procedure: Civil 2d, § 1788, at

  528 (1986).

         In this FDCPA action, PRA’s alleged liability arises from issuance of the LL1 Letter.

  Whether the LL1 Letter violated the FDCPA is the central issue in this case and predominates over

  any individual issue. Here, the existence of common questions and their predominance over

  individual issues are exemplified by the fact that if every class member were to bring an individual

  action, each plaintiff would be required to demonstrate the LL1 Letter violated the FDCPA. The

  Court finds, therefore, the predominance criteria of Rule 23(b)(3) are met.

         The superiority requirement “asks the court to balance, in terms of fairness and efficiency,

  the merits of a class action against those of alternative available methods of adjudication.” In re

  Prudential Ins. Co., 148 F.3d at 316 (internal citations omitted); In re Warfarin, 391 F.3d at 532-

  33. In this case, a class action is appropriate because it would be more efficient to try these

  plaintiffs together, when compared to other means of adjudication. Accordingly, Plaintiffs’ Motion

  to Certify Class is GRANTED.

  IV.    NOTICE TO CLASS

         Rule 23(c)(2)(B) requires that the members of a Rule 23(b)(3) class, as in this case, be

  given notice of the nature of the action, the definition of the class certified, the opportunity to opt

  out of the class and mechanism for doing so, and other important information that is “clearly and

  concisely state[d]” in “plain, easily understood language.” Fed. R. Civ. P. 23(c)(2)(B). Such notice

  must be given to all persons who can be identified through reasonable effort. Id. In the present

  case, such notice must now be proposed by class counsel, for Court approval, to apprise the

  individuals in this class regarding their rights and options.




                                                    48
Case 3:15-cv-04025-BRM-DEA Document 60 Filed 01/17/18 Page 49 of 49 PageID: 2008



          It also appears a second component of notice to the class is necessary at this time, in light

  of the fact that Plaintiffs’ Motion for Summary Judgment has been denied and PRA’s Motion for

  Summary Judgment has been granted in part and denied in part. Such notice regarding the conduct

  of the action is permitted in the Court’s discretion under Rule 23(d)(1)(B) and will be required

  here within the forthcoming Rule 23(c)(2)(B) notice.

          Accordingly, counsel shall confer regarding the approval form of class notice, and class

  counsel, within thirty (30) days of entry of the accompanying Order, shall submit an appropriate

  motion for approval of class notification for the Court’s approval.

     V.      CONCLUSION

          For the reasons set forth above: (1) Plaintiffs’ and PRA’s motions for summary judgment

  are DENIED as to the issue of whether the LL1 Letter violated § 1692e(5) and § 1692e(10) by

  threatening imminent or immediate legal action; (2) Plaintiffs’ and PRA’s motions for summary

  judgment as to whether the LL1 Letter violates § 1692e(10) by setting a 30-day deadline to respond

  is DENIED; (3); PRA’s Motion is GRANTED and Plaintiffs’ Motion for Summary Judgment is

  DENIED as to the issue of whether PRA violated § 1692e(3) and § 1692e(10) by referencing the

  “Litigation Department”; (4) PRA’s Motion is GRANTED as to the issue of whether it violated §

  1692e(10) by stating the account was transferred to the Litigation Department; and (5) Plaintiffs’

  Motion to Certify Class is GRANTED. Plaintiffs’ counsel shall submit an appropriate motion for

  approval of class notification for the Court’s approval within thirty (30) days of entry of the

  accompanying Order.



  Date: January 17, 2018                                /s/ Brian R. Martinotti___________
                                                        HON. BRIAN R. MARTINOTTI
                                                        UNITED STATES DISTRICT JUDGE



                                                   49
